      Case 1:18-cv-21806-FAM Document 3 Entered on FLSD Docket 05/07/2018 Page 1 of 5

AO 440 (Rev. 12/09) Summons in a Civil Action


                                     UNITED STATES DISTRICT COURT
                                                               for the
                                                    SouthernDistrict
                                                 __________ Districtof
                                                                     of__________
                                                                        Florida

                       CARLOS MEJIA
                                                                 )
                                                                 )
                             Plaintiff
                                                                 )
                                v.                               )       Civil Action No.
                                                                                      1:18-cv-21806-FAM
         SEAFOOD ON THE TABLE, INC., et al                       )
                                                                 )
                            Defendant
                                                                 )


                                                 SUMMONS IN A CIVIL ACTION

To: (Defendant’s name and address) AROMA DEL PERU OF CORAL GABLES, CORP. through its Registered Agent:

                                         ASTETE, MARIA I
                                         1930-34 PONCE DE LEON BLVD
                                         CORAL GABLES, FL 33134



          A lawsuit has been filed against you.

         Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff’s attorney,
whose name and address are: The Law Office of Zandro E. Palma, P.A.
                                         9100 South Dadeland Boulevard
                                         Suite 1500
                                         Miami, FL 33156



       If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.



                                                                           CLERK OF COURT


Date:
           May 7, 2018
                                                                                      Signature of Clerk or Deputy Clerk




                                                                                                            s/ Randi Marks
      Case 1:18-cv-21806-FAM Document 3 Entered on FLSD Docket 05/07/2018 Page 2 of 5

AO 440 (Rev. 12/09) Summons in a Civil Action


                                     UNITED STATES DISTRICT COURT
                                                               for the
                                                    SouthernDistrict
                                                 __________ Districtof
                                                                     of__________
                                                                        Florida

                       CARLOS MEJIA
                                                                 )
                                                                 )
                             Plaintiff
                                                                 )
                                v.                               )       Civil Action No.
                                                                                      1:18-cv-21806-FAM
         SEAFOOD ON THE TABLE, INC., et al                       )
                                                                 )
                            Defendant
                                                                 )


                                                 SUMMONS IN A CIVIL ACTION

To: (Defendant’s name and address) AROMAS A LA BRASA, LLC through its Registered Agent:

                                         VIDAL, CARLOS
                                         10201 hammocks blvd
                                         suite 119
                                         MIAMI, FL 33196


          A lawsuit has been filed against you.

         Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff’s attorney,
whose name and address are: The Law Office of Zandro E. Palma, P.A.
                                         9100 South Dadeland Boulevard
                                         Suite 1500
                                         Miami, FL 33156



       If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.



                                                                           CLERK OF COURT


Date:
           May 7, 2018
                                                                                      Signature of Clerk or Deputy Clerk




                                                                                                            s/ Randi Marks
      Case 1:18-cv-21806-FAM Document 3 Entered on FLSD Docket 05/07/2018 Page 3 of 5

AO 440 (Rev. 12/09) Summons in a Civil Action


                                     UNITED STATES DISTRICT COURT
                                                               for the
                                                    SouthernDistrict
                                                 __________ Districtof
                                                                     of__________
                                                                        Florida

                       CARLOS MEJIA
                                                                 )
                                                                 )
                             Plaintiff
                                                                 )
                                v.                               )       Civil Action No.
                                                                                      1:18-cv-21806-FAM
         SEAFOOD ON THE TABLE, INC., et al                       )
                                                                 )
                            Defendant
                                                                 )


                                                 SUMMONS IN A CIVIL ACTION

To: (Defendant’s name and address) CARLOS M. VIDAL

                                         10201 hammocks blvd
                                         suite 119
                                         MIAMI, FL 33196



          A lawsuit has been filed against you.

         Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff’s attorney,
whose name and address are: The Law Office of Zandro E. Palma, P.A.
                                         9100 South Dadeland Boulevard
                                         Suite 1500
                                         Miami, FL 33156



       If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.



                                                                           CLERK OF COURT


Date:
           May 7, 2018
                                                                                      Signature of Clerk or Deputy Clerk




                                                                                                            s/ Randi Marks
         Case 1:18-cv-21806-FAM Document 3 Entered on FLSD Docket 05/07/2018 Page 4 of 5

   AO 440 (Rev. 12/09) Summons in a Civil Action


                                        UNITED STATES DISTRICT COURT
                                                                  for the

                                                    __________ District of __________
                                             Southern District of Florida

           CARLOS MEJIA                                             )
                                                                    )
                                Plaintiff
                                                                    )
                                   v.                               )       Civil Action No.
                                                                                         1:18-cv-21806-FAM
                                                                    )
SEAFOOD ON THE TABLE, INC., et al                                   )
                               Defendant
                                                                    )


                                                    SUMMONS IN A CIVIL ACTION

   To: (Defendant’s name and address)
                           MARIA I. ASTETE

                           1930-34 PONCE DE LEON BLVD
                           CORAL GABLES, FL 33134



             A lawsuit has been filed against you.

            Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
   are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
   P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
   the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff’s attorney,
   whose name and address are:
                           The Law Office of Zandro E. Palma, P.A.
                           9100 South Dadeland Boulevard
                           Suite 1500
                           Miami, FL 33156


          If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
   You also must file your answer or motion with the court.



                                                                              CLERK OF COURT


   Date:
              May 7, 2018
                                                                                         Signature of Clerk or Deputy Clerk




                                                                                                               s/ Randi Marks
      Case 1:18-cv-21806-FAM Document 3 Entered on FLSD Docket 05/07/2018 Page 5 of 5

AO 440 (Rev. 12/09) Summons in a Civil Action


                                     UNITED STATES DISTRICT COURT
                                                               for the
                                                    SouthernDistrict
                                                 __________ Districtof
                                                                     of__________
                                                                        Florida

                       CARLOS MEJIA
                                                                 )
                                                                 )
                             Plaintiff
                                                                 )
                                v.                               )       Civil Action No.
                                                                                      1:18-cv-21806-FAM
         SEAFOOD ON THE TABLE, INC., et al                       )
                                                                 )
                            Defendant
                                                                 )


                                                 SUMMONS IN A CIVIL ACTION

To: (Defendant’s name and address) SEAFOOD ON THE TABLE, INC. through its Registered Agent:

                                         VIDAL, CARLOS M
                                         13823 SW 88TH STREET
                                         MIAMI, FL 33186



          A lawsuit has been filed against you.

         Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff’s attorney,
whose name and address are: The Law Office of Zandro E. Palma, P.A.
                                         9100 South Dadeland Boulevard
                                         Suite 1500
                                         Miami, FL 33156



       If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.



                                                                           CLERK OF COURT


Date:
           May 7, 2018
                                                                                      Signature of Clerk or Deputy Clerk




                                                                                                            s/ Randi Marks
